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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  –Southern Division–


 CONSTANCE COLLINS, et al.,
                                                            Case No. 1:20-cv-01225
 Plaintiffs,

 –v–

 TRI-STATE ZOOLOGICAL PARK OF
 WESTERN MARYLAND, INC., et al.,

 Defendants.


                         DECLARATION OF ZEYNEP J. GRAVES

        I, Zeynep J. Graves, hereby declare as follows:

        1.     I am Associate Director of Litigation for the Foundation to Support Animal

Protection (aka PETA Foundation) and represent Plaintiffs in the above-captioned proceeding.

        2.     Attached as Exhibit A is a true and correct copy of Defendants’ Joint and Several

Rule 26(a)(1) Disclosure Statement, which Defendants served on Plaintiffs on March 24, 2021.

        3.     Attached as Exhibit B is a true and correct copy of Defendants’ Expert Witness

Disclosure Pursuant to Federal Rule of Civil Procedure 26(a)(2), which Defendants served on

Plaintiffs on October 15, 2021.

        4.     Attached as Exhibit C is a true and correct copy of an email Defendants’ former

counsel, Nevin Young, sent to me on May 21, 2021.

        5.     Attached as Exhibit D is a true and correct copy of an email Defendants’ former

counsel, Nevin Young, sent to Plaintiffs’ counsel on June 8, 2021.
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       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.



Executed in Yucca Valley, California this 14th day of March, 2022.


                                                                ________________________
                                                                     Zeynep J. Graves




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